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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


WAKEELAH A. COCROFT                     )
                                        )
V.                                      )                      CASE NO. 10-CV-40257-TSH
                                        )
JEREMY SMITH                            )


                                    AFFIDAVIT OF COUNSEL

I, Beverly B. Chorbajian, declare under the penalties of perjury that the following facts are
within my personal knowledge and are true:

     1. I am an attorney duly licensed to practice in the Commonwealth of Massachusetts, and
        admitted to the federal bar for the District of Massachusetts. I represent the plaintiff,
        Wakeelah A. Cocroft in the above-captioned matter.

     2. Exhibit A contains true and accurate portions of the deposition transcript of the Plaintiff,
        Wakeelah A. Cocroft, taken on June 8, 2012, in the above-captioned matter.


     3. Exhibit B contains true and accurate portions of the transcript of the jury trial of the
        plaintiff’s criminal case, Commonwealth v. Cocroft, Worcester District Court Docket
        No. 0762 CR 12582, held on January 22, 2009.


     4. Exhibit C contains true and accurate portions of the deposition transcript of Clytheia
        Mwangi, taken on June 8, 2012, in the above-captioned matter.


     5. Exhibit D contains true and accurate portions of the of the deposition transcript of the
        Defendant, Jeremy Smith, taken on June 7, 2012, in the above-entitled matter.


     6. Exhibit E contains a true and accurate copy of the Worcester Police Dept. Policy and
        Procedure, Policy No. 400.1, “Handcuffs & Restraints Guidelines”, Date Effective 13
        April 2007., pages 1-4.


     7. Exhibit F consists of a true and accurate copy of the surveillance video of the December
        29, 2007 arrest of the Plaintiff at the Park Avenue Mobil gas station, which depicts the
        events that form the basis for this action. This item is being filed separately at the Clerk’s
        Office.
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      Signed under the penalties of perjury this 19th day of October, 2012.

October 19, 2012                                   /s/ Beverly B. Chorbajian
                                                   Beverly B. Chorbajian, BBO # 5668893
                                                   Attorney for Wakeelah A. Cocroft

                                                   390 Main Street, Worcester MA 01608
                                                   Tel. 508-755-8072
                                                   Fax 508-791-8994
                                                   Email: bchor.law@verizon.net
